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                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF KANSAS


Troy Gott, on behalf of
himself and all others similarly situated,


                        Plaintiff,

v.                                                           Civil Case No. 20-2099

(1) Mylan N.V.,
(2) Mylan Specialty L.P.,
(3) Pfizer Inc., and                                            Jury Trial Demanded
(4) Meridian Medical Technologies, Inc.,


                        Defendants.


                                     CLASS ACTION COMPLAINT

        Plaintiff Troy Gott (“Plaintiff”), individually and on behalf of all others similarly situated,

brings this Class Action Complaint against Defendants Mylan N.V.; Mylan Specialty L.P.

(together, “Mylan”); Pfizer, Inc.; and Meridian Medical Technologies, Inc. (together, “Pfizer,” and

all Defendants collectively together, Mylan and Pfizer, as “Defendants”), and alleges:

                                         INTRODUCTION

        1.      This lawsuit arises from organized deception by Defendants regarding the notorious

EpiPen product: a scheme to manipulate EpiPen expiration dates in order to force patients to refill

EpiPen prescriptions more often. By doing so, Defendants extracted hundreds of millions of dollars

of excess profits every year, year after year, for over the last decade. 1



1
 For simplicity, this Complaint uses the term “EpiPen” to refer to the EpiPen®, EpiPen 2-Pak®,
EpiPen Jr.®, and EpiPen Jr. 2-Pak® (collectively or individually, the “EpiPen”) except where
otherwise noted. (hereafter without ® for readability).
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       2.      The EpiPen is an epinephrine autoinjector device for the treatment of anaphylaxis.

The EpiPen is manufactured by Meridian Medical Technologies, Inc. (“Meridian”), a Pfizer

subsidiary, and marketed and sold in the United States by Defendant Mylan Specialty L.P, a wholly

owned subsidiary of Mylan N.V.

       3.      Defendants have manipulated the EpiPen shelf life and engaged in deceptive

practices to force consumers and purchasers to buy the EpiPen more often than is medically

necessary by (a) putting forward shelf lives that are not supported by the companies’ internal data

and studies; (b) aggressively pushing consumers to purchase the EpiPen every 12 months, on a

cycle, in sync with the “back to school” retail season; and, (c) embarking on deceptive marketing

programs (using the interstate mails and wires) to manipulate consumers and schools into

encouraging and believing this false annual retail purchasing cycle.

       4.      Because the actual EpiPen expiration date is much longer than 12 months,

Defendants worked to deceive consumers and purchasers into obtaining the EpiPen every 12

months. This scheme to defraud ensured a steady revenue stream (good for Wall Street earnings

and revenue projections), more EpiPen purchases, and an easier (albeit fraudulent) marketing

strategy by which Defendants could manipulate and leverage the “back to school” retail season.

       5.      Defendants were motivated to put profits and revenue ahead of lives and medicine.

As the world has learned in recent years, Mylan is a bare-knuckled company that is willing to do

and say anything to deliver more profits and dollars into the pockets of its top executives. Mylan’s

five top executives have been exposed by the Wall Street Journal as paying themselves $82 million

in excess, windfall profits based on the inflated sales and sales price of the EpiPen:




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       The drugmaker at the center of a firestorm over hefty price increases on the
       lifesaving EpiPen put a special incentive plan in place more than two years ago that
       rewards executives if they hit aggressive profit targets.
       In early 2014, the board of Mylan NV approved a one-time award for more than
       100 employees that hinged on more than doubling the company’s adjusted per-
       share earnings over a five-year period ending in 2018, Mylan’s regulatory filings
       show. Meeting that goal would require 16% compound annual earnings growth—a
       tall order for a company that generated almost 90% of its revenue from the
       generally mature generic-drug business.
       At the time it was granted, the award was potentially worth as much as $82 million
       overall to the company’s top five executives. But it would be worthless if the
       company—whose star product is the EpiPen—fails to achieve at least 90% of its
       2018 earnings target. 2

       6.      Artificially restricting the EpiPen expiration date and forcing more purchases of the

EpiPen based on a fictitious “12-month cycle” was a perfect path for Mylan’s executives to ensure

that they would hit these earnings targets and personally enrich themselves. Mylan worked with

Pfizer (which manufactures the EpiPen and packages it) to implement a scheme to make sure that

the expiration date was lowered and consumers and payors were without the data or means to ferret

out the truth behind the various and secretive ways in which the early expiration scheme was

carried out.

       7.      As of 2001, the EpiPen had an approved 27-month shelf life from the date of

manufacture until the device expired and was no longer intended for use. 3

       8.      In November 2001, Meridian (now owned by Pfizer) submitted a new stability

protocol along with data that reduced the EpiPen’s shelf life from 27 months from the date of

manufacture to only 20 months from the date of manufacture under a “Changes Being Effected in


2
  Mark Maremont, EpiPen Maker Tied Executive Pay to Aggressive Profit Targets, WALL ST.
JOURNAL, Sept. 1, 2016, available at: https://www.wsj.com/articles/epipen-maker-mylan-tied-
executive-pay-to-aggressive-profit-targets-1472722204
3
  FDA, Center for Drug Evaluation and Research, Approval Package for 019430Orig1s015 (Apr.
16,                         2002),                       available                       at
https://www.accessdata.fda.gov/drugsatfda_docs/nda/2017/019430Orig1s015.pdf


                                                 3
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30 days” supplemental new drug application (“sNDA”).

       9.      The data, study, and sNDA did not recite any reason or justification at all for this

25% reduction in shelf life. The epinephrine remained the same, as did the device itself.

       10.     Sometime before 2016, Pfizer and then Mylan began telling doctors and patients

that EpiPens expired only 18 months after the date of manufacture and presumably began printing

this 18-month expiration date on every EpiPen and instructing patients that they should refill their

prescription and purchase a new EpiPen after that date.

       11.     As part of the national controversy over EpiPen pricing in Fall 2016, Mylan’s CEO,

Defendant Bresch, testified to Congress under oath on September 21, 2016, that EpiPens expire

18 months after the date of manufacture. 4

       12.     Finally, in August 2018, in response to an epinephrine injector shortage during

back-to-school season, Pfizer and Mylan extended the shelf-life of certain lots of EpiPens and

authorized generic EpiPens (but not EpiPen Jrs.) by four months, which required these companies

to produce data showing these products were actually safe and effective up to 22 (or potentially

24) months after the date of manufacture, contrary to Defendants’ representations to doctors,

patients, and Congress over the last several years. 5 In other words, EpiPens appear to suddenly

have a longer shelf life when it serves Defendants’ interests. Defendants’ interests were two-fold:

(a) to prevent consumers from switching to a competitor; and, (b) to take advantage of the huge

“back to school” annual retail selling cycle it had created.


4
   Reviewing the Rising Price of EpiPens: Hearing Before the H. Comm. on Oversight & Gov’t
Reform,      114th     Cong.     28     (2016)     (Testimony     of    Heather      Bresch),
https://www.govinfo.gov/content/pkg/CHRG-114hhrg24914/pdf/CHRG-114hhrg24914.pdf
(“Rising Price”).
5
  FDA takes additional action to mitigate shortage of EpiPen by extending expiration date for
specific      lots    of      medication     (Aug.       21,     2018),     available      at
https://www.fda.gov/NewsEvents/Newsroom/FDAInBrief/ucm617724.htm


                                                  4
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         13.     In fact, however, the ability of Defendants to suddenly expand the expiration date

proves the fraud scheme and makes clear that the “temporary” expiration date should have been

(at a minimum) the “permanent” expiration date all along, for all lots of EpiPens. If the longer

expiration date were not safe, the FDA never would have approved it, temporarily or not.

         14.     The following table reflects Defendants’ ever-changing position as to the shelf life

of the EpiPen:

            Date          Purported EpiPen Shelf Life                    Source
    Before Nov. 2001      27 months                     Meridian sNDA submission
    Nov. 2001             20 months                     Meridian sNDA submission
    Sept. 2016            18 months                     Defendant Bresch testimony to
                                                        Congress
    Sept. 2016            12-14 months                  Actual shelf life reported by patients
    Aug. 2018-present     22 or 24 months (only certain 4-month extension of some EpiPens
                          lots; not EpiPen Jr.)         in response to drug shortage


         15.     Published medical journals show that EpiPens have a longer shelf life than what is

presented to doctors and patients. Specifically, a 2015 study published in the Annals of Allergy,

Asthma, and Immunology analyzed several EpiPen devices that were up to 24 months past the

stamped expiration date (and therefore 42 months from the date of manufacture) and concluded

that 100% of these devices contained at least 90% of the original dose and would therefore be

considered to still be safe and effective according to FDA standards. 6

         16.     Defendants’ incentive to artificially reduce and otherwise manipulate the EpiPen

expiration date is clear because of two distinct features of the EpiPen market:

                 a.     Unlike other prescription drugs (for example, antibiotics), EpiPens are

                        prescribed with the expectation they will be used only in the rare,


6
  Rachid, et al., Epinephrine doses contained in outdated epinephrine auto-injectors collected in
a Florida allergy practice, 114 ANNALS OF ALLERGY, ASTHMA, AND IMMUNOLOGY, 354-56
(2015).


                                                  5
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                       unexpected occurrence of a life-threatening anaphylactic emergency. That

                       means the vast majority of EpiPens (somewhere well above 95%) expire

                       before use. In turn, almost all patients re-purchase EpiPens based strictly on

                       expiration dates and not when they have consumed or used the EpiPen—

                       because, again, few EpiPens are ever used. Indeed, the very act of

                       purchasing an EpiPen is proof that the patient knows of her allergy, which

                       in and of itself makes it likely she will avoid exposure to the thing that

                       necessitated the purchase of an EpiPen in the first place.

                b.     The EpiPen device has historically dominated the epinephrine autoinjector

                       market, possessing approximately 95% market share as of January 2016.

         17.    Defendants appear keenly aware of the financial significance of EpiPen expiration

dates and go to extraordinary lengths to convince patients, schools, and other stakeholders to

dispose of expired EpiPens and repurchase new ones at a cost of several hundred dollars every

year. This is best illustrated by Mylan’s “My EpiPen Email Program,” through which Mylan

emails patients to remind them when their EpiPens are about to expire so they can repurchase new

ones before their devices expire. 7

         18.    While annually extracting hundreds of millions of dollars from increased

prescription frequency, Defendants have maliciously ignored the health risks created by their

scheme to artificially reduce EpiPen expiration dates, which is that patients facing life-threatening

emergencies may be reluctant to use “expired” EpiPens when these devices still provide life-saving

medicine. There is at least one documented instance where a mother did not administer an EpiPen

that was expired by two months to her college-aged son, who died of the anaphylactic reaction


7
    My EpiPen Email Program, https://www.epipen.com/en/my-epipen


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while the EpiPen (which could have been safely used) sat dormant. 8

          19.    Obviously, increased shelf life will lead to a decrease of annual sales on a per

patient basis. 9 Indeed, a 33% shelf life increase would result in the same 33% decrease in sales.

          20.    Defendants’ actions to manipulate EpiPen expiration dates are part of an illegal

scheme to defraud that must be corrected under the civil damages provisions of the Racketeering

and Corrupt Practices Act (“RICO”) 10 and have damaged Plaintiffs’ and the Class (defined below).

          21.    For all Defendants’ actions alleged herein, Plaintiffs seek to recover all damages

from December 21, 2001 through the present (the “Class Period”), trebled under RICO, along with

costs, attorneys’ fees, and pre- and post-judgment interest. Disgorgement of Defendants’ excess

profits is also an appropriate remedy under common law unjust enrichment.

                                             PARTIES

          22.    Plaintiff Troy Gott is a resident and citizen of Kansas. He has purchased several

EpiPens in Kansas at a cost of several hundred dollars each during the Class Period, and generally

purchases EpiPens at or near the expiration date printed on each device. Plaintiff Troy Gott would

not have purchased as many EpiPens in recent years if Mylan and Pfizer had not artificially reduced

the expiration date on the EpiPen product and he thereby suffered financial injury. Mr. Gott

monitored the expiration date of the EpiPens he purchased, and as the expiration date approached,

he made sure that he and his family purchased new EpiPens on the cycle Defendants created and

recommended so that the EpiPens would not be expired. Had Mr. Gott known that the true




8
  Karen Miller, College Freshman with Peanut Allergy Dies After Eating a Cookie,
ABCNEWS.COM, Mar. 15, 2013, https://abcnews.go.com/Health/Allergies/college-freshman-
peanut-allergy-dies-eating-cookie/story?id=18723777
9
    See Document produced by Mylan in In re EpiPen MDL in the D. Kansas as MYEP01033932.
10
     18 U.S.C. § 1961, et seq.


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expiration date was much longer, he would have followed the true expiration date and made his

purchases later, only as needed and as dictated by the true expiration date.

       23.     Likewise, Mr. Gott’s child’s school required him to maintain a non-expired EpiPen

at the school, a reality that millions of Americans face (despite Mylan’s self-touted

EpiPen4Schools program). If his child’s EpiPen was expiring, he was required to make another

purchase by the school.

       24.     All purchases made by Troy Gott were for personal, family, or household use.

       25.     Defendant Mylan N.V. is a publicly-traded corporation incorporated under the

laws of the Netherlands with its principal executive offices located in Hartfield, Hertfordshire,

England and its global headquarters located in Canonsburg, Pennsylvania, from where it directs

the management and operations of its global pharmaceutical business. Mylan N.V. is the corporate

successor to Mylan Inc. (by virtue of a 2015 transaction) and is the parent company of Mylan

Specialty L.P, a wholly owned subsidiary, that markets and sells the EpiPen in the United States.

Mylan N.V. is not directly registered to do business in the State of Kansas, but conducts business

in the state through its wholly owned subsidiaries.

       26.     Defendant Mylan Specialty L.P. is a limited partnership organized under

Delaware law with its principal offices located at 781 Chestnut Ridge Road, 3rd Floor,

Morgantown, WV 26505. Mylan Specialty L.P. is a wholly owned subsidiary of Mylan N.V. and

as a result is authorized to accept service on behalf of Mylan N.V.

       27.     Mylan Specialty L.P. was known as Dey Pharma until 2012, when it changed its

name to align its operations under the Mylan brand.

       28.     Mylan Specialty L.P. is not registered to do business in Kansas, but it transacts

business in the Kansas so it can be properly served through the Kansas Secretary of State. Mylan




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Specialty L.P. purposefully directs activities to Kansas patients by shipping thousands of EpiPens

to Kansas patients each year, maintaining the My EpiPen Email Program that directly emails

Kansas patients to remind them to purchase new EpiPens, and by otherwise advertising and

marketing the EpiPen directly to Kansas doctors, hospitals, schools, patients, either on its own or

in coordination with Mylan N.V. and/or other wholly-owned subsidiaries. The harms allege in this

Complaint arise from Mylan Specialty L.P.’s activities directed towards Kansas patients.

       29.     Mylan N.V. and Mylan Specialty L.P. operate as a single entity, along with other

wholly-owned subsidiaries to sell and market EpiPens nationwide and specifically into the State

of Kansas.

       30.     Together, Mylan N.V. and Mylan Specialty L.P. (including Dey, its predecessor)

are referred to herein as “Mylan” or the “Mylan Defendants.”

       31.     Defendant Pfizer Inc. is a publicly traded corporation organized under Delaware

law with its principal place of business located at 235 East 42nd Street, New York, New York

10017. Pfizer Inc. is the parent company of Meridian Medical Technologies, Inc., which

manufactures the EpiPens to be marketed and sold by the Mylan Defendants.

       32.     Defendant Meridian Medical Technologies, Inc. is corporation organized under

Delaware law with its principal place of business located at 6350 Stevens Forest Road, Suite 301,

Columbia, Maryland. Meridian Medical Technologies, Inc. became a wholly owned subsidiary of

Pfizer by virtue of a 2011 transaction in which Pfizer acquired King Pharmaceuticals, Inc., which

was the parent company of Meridian Medical Technologies.

       33.     Pfizer Inc. and Meridian Medical Technologies, Inc. purposefully directed

activities and knew that EpiPens would be marketed and sold in Kansas.

       34.     Together, Pfizer, Inc. and Meridian Medical Technologies, Inc. are referred to




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herein as “Pfizer” or the “Pfizer Defendants.”

                                  JURISDICTION AND VENUE

         35.    This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.

§1332(d) because this is a class action in which the aggregate amount in controversy exceeds

$5,000,000 (exclusive of interest and costs), the number of the members of the Class exceeds 100,

and at least one member of the putative Class is a citizen of a state different from that of one of

the defendants. This Court also has jurisdiction over this matter pursuant to 28 U.S.C. §§1331.

         36.    This Court has personal jurisdiction over Defendants because Defendants are

amenable to service of process, are co-conspirators, and each has minimum contacts with this

District and has purposefully availed itself of the privilege of conducting business in this state.

         37.    Venue is proper in this forum pursuant to 28 U.S.C. § 1391 because a substantial

part of the events giving rise to these claims occurred in this District, including EpiPen sales made

by Defendants; each Defendant is subject to personal jurisdiction in this District; and Defendants

transact business in this District.

                                         BACKGROUND

A.       Allergies, Anaphylaxis, and Epinephrine

         38.    The EpiPen and EpiPen Jr. are disposable, prefilled automatic injection devices for

the delivery of epinephrine (also known as adrenaline), used in the treatment of severe allergic

reactions known as anaphylaxis.

         39.    Anaphylaxis is a life-threatening allergic reaction that can occur rapidly after

exposure to an allergen. Anaphylaxis manifests in a variety of symptoms, including swelling of

the tongue and throat, vomiting, reduced blood pressure, difficulty breathing, and if untreated,

death.




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       40.     Food allergens, medications, latex, exercise, and insect bites are the most common

causes of anaphylaxis. Epinephrine is also used to treat anaphylaxis caused by exercise or unknown

substances.

       41.     According to Food Allergy Research & Education—an allergy advocacy and

research group—approximately 15 million people have food allergies in the United States. One

out of every thirteen children in the United States has serious food allergies. Each year, allergic

reactions account for about 200,000 emergency room visits.11

       42.     Epinephrine is often effective at reducing the symptoms of anaphylaxis if

administered promptly. In the vast majority of cases, an epinephrine auto-injector is the most

effective device for quickly administering epinephrine. 12

       43.     Patients prone to anaphylaxis are advised to carry an epinephrine auto-injector at

all times, to be used in the event of a severe allergic reaction. In short, epinephrine auto-injectors

can prevent suffering and save lives.

B.     The EpiPen

       44.     The predecessor auto-injector device was first developed by Survival Technology,

Inc. in the 1970s to administer a nerve agent antidote for the United States military. This original

auto-injector was called the ComboPen. It was subsequently modified to deliver immediate doses

of epinephrine, thus creating the EpiPen. 13


11
   Selena Larson, Outrageous EpiPen prices lead some people to make their own, CNNBUSINESS,
Sept.     24,     2016,   https://money.cnn.com/2016/09/24/technology/diy-epipen-affordable-
alternatives/?iid=TL_Popular
12
    Ben Popken, Mylan’s Upgraded EpiPen Torn Apart By Experts, NBC NEWS, Sept. 20, 2016,
http://www.nbcnews.com/business/consumer/mylan-says-it-upgraded-epipen-2009-so-experts-
looked-inside-n652651
13
    Matt Reimann, The Story of the EpiPen: From Military Technology to Drug-Industry Cash
Cow, TIMELINE, Aug. 20, 2016, https://timeline.com/epipen-technology-drug-industry-
b28d19036dee#.seg6n7dls,


                                                 11
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        45.     The FDA approved the EpiPen for sale in the United States on December 22, 1987

under New Drug Application (“NDA”) #019430. 14

        46.     The EpiPen is used to treat signs and symptoms of an allergic emergency, some of

which include hives, redness of the skin, tightness in the throat, breathing problems, and/or a

decrease in blood pressure.

        47.     The EpiPen has two important components: needle injection and medication

dispensing. It works by delivering epinephrine to reverse the effects of allergens by relaxing the

muscles around airways and tightening blood vessels to maintain respiratory and cardiovascular

function. “According to national food allergy guidelines, epinephrine is the only recommended

first-line treatment for anaphylaxis.” 15

        48.     EpiPens are currently manufactured by Meridian Medical Technologies, a

subsidiary of Pfizer, but are marketed and sold in the United States by Mylan, through its

subsidiary: Mylan Specialty L.P. 16

        49.     The current EpiPen label describes the company’s relationship with regards to the

EpiPen as follows:




14
   Drugs@FDA, NDA 019430,
https://www.accessdata.fda.gov/scripts/cder/daf/index.cfm?event=overview.process&ApplNo=0
19430
15
   See What is Epinephrine?, Epipen.com, https://www.epipen.com/about-epipen/what-is-
epinephrine (emphasis in original)
16
   EpiPen Label (rev. 2/2017),
https://www.accessdata.fda.gov/drugsatfda_docs/label/2018/019430s074lbl.pdf


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        Manufactured for Mylan Specialty L.P., Morgantown, WV 26505, U.S.A. by
        Meridian Medical Technologies, Inc., Columbia, MD 21046, U.S.A., a Pfizer
        company

        EpiPen® and EpiPen Jr® are registered trademarks of Mylan Inc. licensed
        exclusively to its wholly-owned affiliate, Mylan Specialty L.P. of Morgantown,
        WV 26505, U.S.A.

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        50.       Unlike most pharmaceutical products that are manufactured, sold, and marketed to

the public by a single company, the EpiPen manufacturing, sales, and marketing functions have

been split between two companies (now, Mylan and Pfizer) through various mergers and

acquisitions:


 Date         Manufacturing                                Sales and Marketing 17
 1996         Longtime EpiPen manufacturer, Survival
              Technology, Inc. merges with Meridian
              Medical Technologies, Inc.
 1997                                                      Dey Pharma L.P. obtains exclusive
                                                           rights to market EpiPen in the US from
                                                           Meridian Medical Technologies, Inc.
 2002         Meridian Medical Technologies, Inc.
              acquired by King Pharmaceuticals Inc.
 2004                                                      Dey Pharma L.P. becomes part of
                                                           Merck KGaA
 2007                                                      Mylan Inc. acquires Merck KGaA
                                                           including Dey Pharma L.P. and the
                                                           EpiPen
 2010         Pfizer Inc. acquires King Pharmaceuticals
              Inc. including Meridian Medical
              Technologies, Inc. and the EpiPen, which
              continues to manufacture the EpiPen until
              today
 2012-                                                     Mylan Inc. changes the name of Dey
 Present                                                   Pharma L.P. to Mylan Specialty L.P. in
                                                           line with the Mylan brand, which
                                                           continues to market the EpiPen until
                                                           today

17
   Mylan, 27th Annual JP Morgan Healthcare Conference Presentation, Jan. 13, 2009, slide 7,
http://i.bnet.com/blogs/mylan-ir-jan-09.pdf


                                                 13
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       51.     The EpiPen provides a 0.3 mg dose of epinephrine, while the EpiPen Jr. contains a

0.15 mg dose. The EpiPen Jr., intended for children, has a retail price that is the same as the EpiPen,

despite containing half the medicine (0.15 mg instead of 0.3 mg) of the EpiPen. Mylan claims that

food allergies among U.S. children are “on the rise, now affecting one in 13” kids. 18

       52.     The number of patients filling a prescription for an EpiPen has grown 67 percent

over the past seven years. “[F]or doctors, who write prescriptions for the name they know best, the

EpiPen brand ‘is like Kleenex,’ says Robert Wood, a pediatric allergist at Johns Hopkins

University School of Medicine.” 19

       53.     As of January 2016, the EpiPen controlled approximately 95.2% of the epinephrine

auto-injector market. 20

       54.     According to Kevin Deane, head of medical technologies for PA Consulting

Group (a global technology and design firm that sold a drug delivery technology company to

Pfizer in 2004), “the base components for each EpiPen, including the plastic cap, tube, and

needle, might cost between $2 to $4 to purchase.” 21 And the EpiPen contains “essentially [the]

same core technology that [has been] there for many years.” 22

       55.     In fact, two engineering industry experts peg the total cost of making an EpiPen



18
    Mylan Applauds New Federal Legislation to Increase Anaphylaxis Preparedness in Schools,
MYLAN INC. (Nov. 14, 2013), http://newsroom.mylan.com/press-releases?item=123181
19
    Cynthia Koons and Robert Langreth, How Marketing Turned the EpiPen Into a Billion-Dollar
Business, BLOOMBERG (Sept. 23, 2015), http://www.bloomberg.com/news/articles/2015-09-
23/how-marketing-turned-the-epipen-into-a-billion-dollar-business
20
   Sy Mukherjee, Mylan’s EpiPen is Bleeding Market Share to Its Rivals, FORTUNE (Mar. 6, 2017),
http://fortune.com/2017/03/06/mylan-epipen-competitors-surge/ (last visited Jan. 3, 2019)
21
   Ben Popken, Industry Insiders Estimate EpiPen Costs No More Than $30, NBC NEWS (Sep. 6,
2016), http://www.nbcnews.com/business/consumer/industry-insiders-estimate-epipen-costs-no-
more-30-n642091
22
    Id.


                                                  14
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2-Pak at between $8.02 and $10.03, and that “even include[s] the bright-yellow box.” 23

       56.    In August 2016, a national controversy erupted over the price of EpiPens, which

had risen from $93.88 per two-pack in 2007, when Mylan acquired the EpiPen franchise, to

$608.61 as of May 16, 2016—an increase of more than 500% over nine years. 24 The rise in price

from the time Mylan and Heather Bresch took over the EpiPen is jarring:




C.     Existing EpiPen Litigation

       57.    Mylan and Heather Bresch have been dismantled by the national media for

engaging in price gouging while lying about access to medicine and the United States Congress


23
   Tracy Seipel, EpiPen Outrage: Silicon Valley Engineers Figure Real Cost to Make Lifesaving
Auto-Injector Two-Pack — about                $8,  MERCURY NEWS (Oct. 1, 2016),
http://www.mercurynews.com/2016/10/01/epipen-outrage-silicon-valley-engineers-figure-true-
cost-to-make-lifesaving-auto-injector-about-10/
24
   Lydia Ramsey and Andy Kierz, An EpiPen is 500% more expensive than it was in 2007 – here’s
how that happened, BUSINESS INSIDER (Aug. 24, 2016), https://www.businessinsider.com/epipen-
price-increases-2016-8.


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(both the U.S. House and Senate) for lying under oath about the EpiPen..

       58.     Pfizer’s role, while less public, has also been exposed in various media articles,

including the fact that Mylan and Pfizer have a splintered and overlapping role in the ownership

of the IP surrounding the EpiPen and Mylan and Pfizer jointly work together on key EpiPen

decisions, including price. Pfizer shares proportionally in the EpiPen’s sales in the United States.

       59.     Several lawsuits have already been filed to remedy Defendants’ and pharmaceutical

intermediaries’ bad acts regarding the EpiPen.

       60.     From July 2010 until March 2017, Mylan knowingly submitted false statements to

state and federal Medicaid programs that incorrectly classified the EpiPen as a “noninnovator

multiple source” drug (i.e. a generic drug) rather than a “single source” or “innovator multiple

source” drug (i.e. a brand drug) in order to reduce the rebate percentage that Mylan owed from

23.1% to 13%, thereby earning Mylan hundreds of millions of dollars in illegal, excess profits. In

August 2017, Mylan entered a settlement agreement in which they agreed to pay the government

$465 million to resolve False Claims Act liability related to misclassification of EpiPens for

purposes of the Medicaid drug rebate program. 25

       61.     Mylan, Pfizer, and Heather Bresch have also been sued for their actions regarding

the EpiPen in In re EpiPen Mktg., Sales Practices & Antitrust Litig., No: 2:17-md-02785-DDC-

TJJ (MDL No. 2785) (D. Kan.), in which Plaintiffs allege that Defendants violated antitrust laws,

RICO, and state consumer protection statutes by carrying out a multi-faceted scheme to illegally



25
   Department of Justice – Office of Public Affairs, Mylan Agrees to Pay $465 Million to Resolve
False Claims Act Liability for Underpaying EpiPen Rebates, Aug. 17, 2017,
https://www.justice.gov/opa/pr/mylan-agrees-pay-465-million-resolve-false-claims-act-liability-
underpaying-epipen-rebates/; United States ex rel. Sanofi-Aventis US LLC v. Mylan Inc., et al.,
No. 16-CV-11572 (D. Mass.), Settlement Agreement.



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maintain its monopoly of the epinephrine auto-injector market and coerce and deceive patients into

paying inflated prices.

        62.     Specifically, the Plaintiffs in that case allege that Defendants: (1) paid

pharmaceutical benefit managers to exclude competition; (2) used sham patent litigation to block

generic epinephrine auto-injector products; (3) forced EpiPens patients to purchase two devices at

a time without medical justification; and (4) made a variety of false and misleading statements to

pharmaceutical stakeholders to conceal its illegal activities. 26

D.      FDA Regulation Require Drug Expiration Dates

        63.     Under FDA regulations, prescription drug products must bear an expiration date

determined by appropriate stability testing to assure the product meets applicable identity, strength,

quality, and purity standards when a drug product is used. 27

        64.     Stability testing protocols are governed by CFR § 211.166, which requires a written

testing program to assess the stability characteristics, appropriate storage conditions, and

expiration dates for drug products and must include the following data: “(1) Sample size and test

intervals based on statistical criteria for each attribute examined to assure valid estimates of

stability; (2) Storage conditions for samples retained for testing; (3) Reliable, meaningful, and

specific test methods; [and] (4) Testing of the drug product in the same container closure system

as that in which the drug product is marketed . . . . ” 28

        65.     Manufacturers are required to test an adequate number of batches of each drug




26
   See, e.g., In re: EpiPen Mktg., Sales Practices & Antitrust Litig., 336 F. Supp. 3d 1256 (D. Kan.
2018).
27
   21 CFR § 211.137(a).
28
   21 CFR § 211.166(a).


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product to determine an appropriate expiration date and record and maintain the relevant data. 29

        66.     Manufacturers are allowed to conduct accelerated stability studies to support

tentative expiration dates when full shelf life studies are not available and are underway. 30 When

data is taken from this type of accelerated stability study, drug sponsors are required to test the

drug product at appropriate intervals until the tentative expiration date is verified or an alternative

expiration date is determined. 31

        67.     The relevant FDA guidance regarding stability standards define the terms ‘shelf

life’ and ‘expiration date’ as follows: 32

        Expiration date: The date placed on the container label of a drug product
        designating the time prior to which a batch of the product is expected to remain
        within the approved shelf life specification, if stored under defined conditions,
        and after which it must not be used.
        ...
        Shelf life (also referred to as expiration dating period): The time period during
        which a drug product is expected to remain within the approved shelf life
        specification, provided that it is stored under the conditions defined on the
        container label.

        68.     Manufacturers must post a drug product’s expiration date on both the immediate

container of the drug product and the outer package, unless the expiration date is legible through

the outer package or the product is a single-dose container packaged into individual cartons. 33

        69.     As a whole, these regulations require drug sponsors to conduct appropriate stability




29
   21 CFR § 211.166(b).
30
   21 CFR § 211.166(b).
31
   21 CFR § 211.166(b).
32
   FDA, Guidance of Industry, Q1A(R2) Stability Testing of New Drug Substances and Products,
Revision 2, Nov. 2003,
https://www.fda.gov/downloads/Drugs/GuidanceComplianceRegulatoryInformation/Guidances/
UCM073369.pdf
33
   21 CFR § 201.17.


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testing and then propose an expiration date for their own drug products. 34

        70.      The FDA does not conduct testing or determine drug product expiration dates. Nor

does the FDA regulate or establish the expiration date, or whether it is too short so as to deceptively

increase sales. The FDA is limited only to evaluating patient safety and physical harm, nothing

more.

                                   FACTUAL ALLEGATIONS

A.      The EpiPen Sham Expiration Scheme

        71.      The Defendants’ efforts to mislead consumers and payors into paying more for the

EpiPen depended, in part, on Defendants manipulating the expiration date for the EpiPen. The

profit temptation was simple: by pinching the expiration date, the product lasts a shorter period of

time, and thus consumers and payors have to purchase it more often. With this simple math in

mind, Defendants were on their way to committing fraud to gin up excess profits for their bottom

lines, to keep Wall Street happy, and to ensure that top executives at Mylan raked in massive

bonuses year after year.

              Meridian reduces the EpiPen Shelf Life from 27 months to 20 months.

        72.      Before November 2001, the EpiPen product had an FDA-approved shelf life of 27

months from the date of manufacture until the product expired. 35

        73.      On November 21, 2001, Meridian submitted to the FDA Changes Being Effected

in 30 days supplemental new drug application (S015) to NDA 19-430 that proposed the company

reduce the shelf life of the EpiPen from 27 months from date of manufacture to 20 months from


34
   https://www.fda.gov/Drugs/DevelopmentApprovalProcess/Manufacturing/ucm605559.htm
(“FDA regulations require drug applicants to provide stability testing data with a proposed
expiration date and storage conditions when they submit an application for FDA approval of their
drug.“).
35
    https://www.accessdata.fda.gov/drugsatfda_docs/nda/2017/019430Orig1s015.pdf.


                                                  19
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the date of manufacture and modified the Master Stability Protocols for the EpiPen and EpiPen Jr.

products. 36

        74.    The November 2001 Master Stability Protocol superseded a previous stability

protocol that had been approved only three years earlier on November 20, 1998. 37

        75.    As part of the new November 2001 Master Stability Protocol, Meridian signed and

agreed that any amendment to the stability protocol “must be documented and be approved by

Research and Development, Regulatory Affairs and Quality” departments within Meridian and

also that “FDA will be notified of all amendments” through appropriate regulatory channels. 38

        76.    On April 16, 2002, the FDA responded to Meridian’s Changes Being Effected

sNDA and did not object to the company’s proposed changes to the EpiPen product or Master

Stability Protocols for either the EpiPen or EpiPen Jr. 39

        Defendants further reduce the EpiPen shelf life from 20 months to 18 months.

        77.    Sometime after 2001 and before 2016, for which discovery is needed because this

information is held by Defendants, Meridian and/or Mylan further reduced the shelf life of the

EpiPen and EpiPen Jr. products when it began selling and labeling these products with an

expiration date that was only 18 months after the product was manufactured.

        78.    To this end, in September 2016, Mylan’s CEO, Heather Bresch, specifically

testified to Congress that EpiPens shelf life was 18 months, not 12 months as is commonly

assumed, and that Mylan was then working to lengthen the product’s shelf life (back) to 24




36
   https://www.accessdata.fda.gov/drugsatfda_docs/nda/2017/019430Orig1s015.pdf.
37
   https://www.accessdata.fda.gov/drugsatfda_docs/nda/2017/019430Orig1s015.pdf.
38
   https://www.accessdata.fda.gov/drugsatfda_docs/nda/2017/019430Orig1s015.pdf.
39
   https://www.accessdata.fda.gov/drugsatfda_docs/nda/2017/019430Orig1s015.pdf.


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months. 40

          79.     Ms. Bresch was sworn in and testified under oath before Congress on September

21, 2016, in Washington D.C. The media widely documented her raising her right hand and

swearing to tell the truth to Congress during the hearing, “Reviewing the Rising Price of EpiPens.”




          80.     While under oath, Ms. Bresch testified that the then-current shelf life of the EpiPen

was “eighteen [18] months” and that Mylan was “hopeful” to reach an expiration date of “twenty-

four [24] months.” Here’s a relevant portion of her testimony:




40
     Rising Price, supra, at n.5.


                                                   21
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          81.     During this exchange, Congressperson Cummings expressed surprise, saying,

“Because I heard that it was a year, but I’m glad to hear it’s 18 months.” 41

          82.     Ms. Bresch’s statements regarding the expiration date were knowingly false. By




41
     Rising Price, supra, at n.5.


                                                 22
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testifying before Congress, Ms. Bresch sought to and did in fact conceal Defendants’ attempts to

manipulate the expiration date of the EpiPen. The September 21, 2016 hearing was expressly

devoted to Mylan’s price gouging and exploitation of the American public, and by being untruthful

and dishonest before Congress, Ms. Bresch corrupted an official proceeding on behalf of Mylan.

       83.     Ms. Bresch’s September 21, 2016 testimony was also knowingly false because

Mylan knew at the time of the hearing that the expiration date of the EpiPen is longer than 18

months. In fact, it is believed that the then FDA-approved shelf life was at least 20 months. Thus,

by representing to Congress that the expiration date is 18 months and that Mylan is looking to

increase the expiration date to “24 months,” Ms. Bresch lied to Congress and sought to legitimize

the false expiration date in a public hearing.

       84.      Further, Ms. Bresch’s testimony was knowingly false because Mylan and Pfizer

never did submit an extended expiration date to the FDA, which she said Mylan was looking to

submit “within days.” It has now been over 1,000 days since Ms. Bresch testified on September

21, 2016, and no FDA submission has been made to extend the expiration date for all EpiPen lots.

That’s because Mylan knew that to extend the expiration date to 24 months would be to cut its

sales in half, taking away the annual “back to school” retail cycle and making it the “every other

year back to school” retail cycle. Mylan’s bottom line (and Ms. Bresch’s bonus pay) would have

been wrecked by this change, so Mylan made sure to suppress the extended expiration date.

       85.     In addition, Ms. Bresch’s September 21 statements are contradicted by recent FDA

statements that show, at a bare minimum, EpiPen’s approved shelf life is 20 months, not 18 months

as stated by Ms. Bresch and apparently printed on each EpiPen device. 42


42
   https://www.fda.gov/newsevents/newsroom/fdainbrief/ucm617724.htm (“the change beyond
the approved 20-month shelf life . . . .) (Aug. 21, 2018).



                                                 23
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       Defendants mislead and falsely encourage patients to refill EpiPen prescriptions
       within 18 months, or sooner.

       86.     Defendants have widely promoted the 18-month shelf life for the EpiPen and

EpiPen Jr. products and specifically instruct EpiPen customers to dispose and re-purchase EpiPens

before the 18-month expiration date printed on each autoinjector.

       87.     The expiration date is prominently displayed on every EpiPen and EpiPen Jr. carton

and each individual EpiPen device, as shown in the photograph below:




       88.     Mylan’s current EpiPen website includes the following advice regarding the use of



See      also,      https://gizmodo.com/epipen-expiration-dates-extended-as-schools-face-shorta-
1828491035 (“‘Mylan submitted additional data to the FDA to show specific lot of its EpiPen
product remained stable, retaining its strength, quality and purity for up to 24 months when stored
according to its labeled storage conditions,’ FDA spokesperson Theresa Eisenman told Gizmodo
over email.”).

https://www.cnbc.com/2018/08/21/fda-extends-certain-epipen-expiration-dates-to-combat-
shortage.html (“EpiPens typically have a shelf life of 20 months, according to the FDA . . . .”)


                                                24
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EpiPen and EpiPen Jr. products before the 18-month expiration date: 43

       Do EpiPen and EpiPen Jr AutoInjectors (or their authorized generics) expire?
       If so, what should I do when one expires?

       Like any medication, EpiPen Auto-Injector (and its authorized generic) has an
       expiration date, which is printed on the side of the auto-injector. Because the
       effectiveness of epinephrine may decrease after the expiration date, you should
       promptly refill your prescription before the expiration date. You can register your
       auto-injectors online through the My EpiPen program and we’ll send you reminders
       before your devices expire.

       89.     Mylan specifically encourages patients to sign up for the My EpiPen Email

Program so that the company can send patients reminders to refill their prescription before their

EpiPens expire, thereby ensuring that patients purchase new EpiPens before or at 18 months after

the date of manufacture. 44

       Mylan submits data to extend the EpiPen shelf life for some lots to 24 months.

       90.     In August 2018, the FDA announced a shortage of EpiPen and similar epinephrine

autoinjector devices during the back-to-school season when many parents and schools ordinarily

replace (prematurely) expired devices.

       91.     In response, Defendants submitted additional stability data to the FDA that

extended the shelf life of only certain lots of EpiPens (and their authorized generic equivalent

product) by an additional 4 months to a total of 22 months (or potentially 24 months) from the date

of manufacture. 45 Defendants did not extend the shelf life of any EpiPen Jr. auto-injectors in

response to the recall and did not extend the shelf life of all EpiPens on a permanent basis.

       92.     The FDA announced that it had approved the additional shelf life for these lots

“beyond the approved 20-month shelf life [] based on stability data provided by Mylan and


43
   https://www.epipen.com/about-epipen-and-generic/faq
44
   https://www.epipen.com/en/my-epipen
45
   https://gizmodo.com/epipen-expiration-dates-extended-as-schools-face-shorta-1828491035


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reviewed by the FDA.” 46

       93.     On August 21, 2018, Mylan and Pfizer announced the 4-month shelf-life extension

of certain lots of EpiPen based on Pfizer stability data:

         Important Update on EpiPen® (epinephrine injection, USP) 0.3 mg Auto-
                        Injectors from Mylan and Pfizer

        Extended Expiration Dates for Select Lots of EpiPen® 0.3 mg Auto-Injectors
                            and its Authorized Generic

To address shortages of EpiPen®, Pfizer is coordinating with FDA to extend the expiration
dates of specific lots of EpiPen® 0.3 mg Auto-Injectors and its authorized generic version,
after review of stability data. Patients should have confidence in using the products from
these particular lots as Pfizer works to stabilize supply, which is anticipated in the fourth
quarter of 2018.

This announcement is based on a careful review of product stability data provided by
Pfizer. We believe the extension of the expiration date will temporarily address patients’
access to and use of EpiPen® 0.3 mg Auto-Injectors, and the authorized generic,
particularly during back-to-school season as demand increases.

The affected lots, which have current expiration dates between April 2018 and December
2018, are listed in tables on the following pages with their new expiration dates and can be
found on FDA’s website and EpiPen.com/EpiPenSupply. 47

        94.   Pfizer currently maintains a website regarding the still-ongoing EpiPen shortage at
https://www.pfizer.com/news/featured_stories/featured_stories_detail/important_update_on_epip
en_epinephrine_injection_usp_0_3_mg_auto_injectors

       95.     The Pfizer website includes a link to a YouTube video in which Dr. Freda Lewis-

Hall, Chief Medical Officer of Pfizer, updates patients about the EpiPen shortage and the extension

of the expiration date of certain lots of EpiPen.




46
   https://www.fda.gov/newsevents/newsroom/fdainbrief/ucm617724.htm
47
   Available at:
https://www.fda.gov/downloads/Drugs/DrugSafety/DrugShortages/UCM617733.pdf


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       Published Sources Support a Longer Shelf-Life Than 18 Months

       96.     The fact that EpiPen has a longer shelf life than Defendants disclose and represent

to the public is supported by published medical literature.

       97.      In May 2000, the Journal of Allergy and Clinical Immunology published a study

regarding the bioavailability and effectiveness of outdated EpiPen and EpiPen Jr. auto-injector

devices, which were then labeled with an expiration date 27 months after the date of manufacture

according to the then-approved stability protocol. 48 The study found that the epinephrine content




48
  F.E.R. Simons, Xiaochen Gu, Keith Simons, Outdated EpiPen and EpiPen Jr. autoinjectors:
Past their prime?, Journal of Allergy and Clinical Immunology, Vol. 105, No. 5, pg. 1025-30 (May
2000).


                                                27
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of the devices generally decreased as the devices aged past 27 months, recommended that patients

carry unexpired devices, and that a device older than 27 months should be used in the absence of

an unexpired alternative because “the potential benefits of using it using it is greater than the

potential risk of suboptimal epinephrine dose or of no epinephrine treatment at all.”

       98.     In 2015, the Annals of Allergy, Asthma, and Immunology published a Letter

regarding a study on the effectiveness of EpiPen devices collected in a Florida allergy clinic. 49

Because this study was conducted in 2015, the EpiPens used were presumably labeled with an

expiration date 18 months from the date of manufacture in accordance with Mylan’s then-

established practice. This study concluded that 100% of EpiPens tested up to 24 months past the

labeled expiration date (i.e., EpiPens that were up to 42 months after the date of manufacture)

“contained 90% of the labeled epinephrine dose and therefore met the current United States

Pharmacopeia standards of 90% to 115% of labeled doses.” This evidence strongly supports a shelf

life longer than the 18 months that Pfizer and Mylan disseminated to the public and placed on

every EpiPen device.

       99.     Similarly, in June 2017, the Annals of Internal Medicine published a letter

regarding another study on the effectiveness of expired EpiPen devices. 50 This study concluded

that EpiPens retain substantial amounts of epinephrine “well beyond their expiration dates” and

that the authors expected that EpiPens up to 50 months after expiration would still provide a

beneficial pharmacologic response. Additionally, the study results reveal the 22 out of 24 (91%)

of EpiPen and EpiPen Jr. devices tested that were 25 months or less past the labeled expiration


49
   Rachid, et al., Epinephrine doses contained in outdated epinephrine auto-injectors collected in
a Florida allergy practice, Annals of Allergy, Asthma, and Immunology, Vol. 114, pg. 354-56
(2015).
50
   F. Lee Cantrell, Patricia Cantrell, Anita Wen, Epinephrine Concentrations in EpiPens After the
Expiration Date, Annals of Internal Medicine, Vol. 166 No. 12, June 20, 2017, pg. 918-19.


                                                28
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date contained 90% of the original dose, which means they still met FDA standards, and the

remaining 2 devices contained 88% and 89% of the original dose. This evidence also supports a

longer shelf life than the 18-month date disseminated by Pfizer and Mylan.

            Defendant’s obtained windfall profits by artificially reducing the shelf life
                                 of the EpiPen and EpiPen Jr.

          100.   There are several unique features of the EpiPen market that allow Defendants to

profit from artificially reducing the shelf life of their product.

          101.   First, unlike other prescription drugs, EpiPens are prescribed by doctors with the

hope they expire before use. EpiPens are only intended to be used in the relatively rare occurrence

of a life-threatening anaphylactic reaction. This means most patients purchase EpiPens based on

expiration dates and not when they run out of their supply of the medication, as with most

prescription medications.

          102.   The fact that many EpiPens are never used before expiration is further exacerbated

by Mylan’s recent efforts to coerce institutions such as schools, theme parks, and airlines to

stockpile EpiPens just in case someone experiences an anaphylactic reaction and does not have

their own device.

          103.   It appears the overwhelming majority of these stockpiled EpiPens are never used. 51

Baltimore County Public Schools purchase approximately 400 EpiPens annually of which only

approximately 17 are used to treat anaphylaxis, meaning the school system throws away

approximately 95% of purchased devices upon expiration. San Francisco uses fewer than 10

EpiPens to treat anaphylaxis each year, but disposes of approximately 120 devices annually, which




51
     https://khn.org/news/instead-of-trashing-a-600-epipen-some-patients-get-a-refill/


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means more than 92% of these devices are replaced before they expire. 52

        104.    Accordingly, this means that the Defendants’ decision to artificially decrease the

shelf life of the EpiPen requires nearly all patients to refill their EpiPens earlier than they would

otherwise and therefore increase the number of times they are forced to purchase Defendants’

products.

        105.    Second, until very recently, and illustrated by the national furor over the rising cost

of the EpiPen, Pfizer and Mylan have faced almost no competition to EpiPen within the United

States and possessed more than 90% market share as of 2015. Therefore, many patients have never

had the option to select a longer-lasting epinephrine auto-injector product, which means Pfizer and

Mylan were able to diminish the quality of their own product without losing significant sales, as

would happen in a truly free market in response to consumer preferences.

        106.    Combined, these features of the epinephrine auto-injector market mean Pfizer and

Mylan have been able to rake in hundreds of millions of dollars in excess profits as a result of the

EpiPen Expiration Scheme. But for the scheme to defraud, this money would not have flowed in.

        Defendants may have caused unnecessary death or suffering by artificially reducing
        the shelf life.

        107.    In addition to the financial consequences of the artificial reduction in the EpiPen

shelf life, Defendants’ manipulation of shelf life and expiration dates may have physically harmed

or killed patients.

        108.    EpiPens are used only in instances of life-threatening emergencies. Mylan

specifically instructs patients to pay attention to the expiration dates printed on the EpiPen and

EpiPen Jr. Many patients therefore logically assume that EpiPens cannot be used beyond the


52
  It is unclear how these use statistics are impacted by the forced purchase of the EpiPen in a
package of two, which may further increase the percent of wasted product.


                                                  30
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printed expiration date either because the product is dangerous or would be ineffective to save

someone’s life during an anaphylactic emergency.

       109.    As reported by ABC News, in March 2013, a college freshman ate a cookie that

contained peanut oil and suffered a severe anaphylactic reaction that restricted his airway. The

student’s mother quickly reached for an EpiPen that had purportedly expired two months earlier,

but was instructed by first responders not to use the recently expired device. A neighbor eventually

brought over an unexpired EpiPen device, which was administered to the teen, but it was too late

and the teenager died of the anaphylactic reaction. 53

       110.    This case illustrates the extreme danger and recklessness of Defendants’

manipulation of the EpiPen shelf life.

       Equitable Tolling, Discovery Rule, and Fraudulent Concealment.

       111.    Plaintiff repeats and re-alleges the allegations set forth above. At all times relevant

to this Complaint, Defendants took active steps to conceal their unlawful activities, including the

combination and conspiracy alleged herein.

       112.    Discovery Rule: Plaintiff and the members of the Class had no knowledge or

reason to know of the combination or conspiracy alleged herein until on or about (at the earliest)

August 21, 2018, the date that Defendants announced that they possessed data to support a 4-

month extension of the EpiPen shelf life.

       113.    Plaintiff and the Class are consumers who do not have the training or means from

which they could have discovered the combination and conspiracy described in this Complaint

before August 21, 2018, if then.


53
   Karen Keller, College Freshman With Peanut Allergy Dies After Eating a Cookie,
ABCNEWS.COM, Mar 15, 2013, https://abcnews.go.com/Health/Allergies/college-freshman-
peanut-allergy-dies-eating-cookie/story?id=18723777


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       114.    No information in the public domain was available to Plaintiff and members of the

Class concerning Defendants’ unlawful activities, including the combination or conspiracy alleged

herein, prior to August 21, 2018, the date that Defendants announced they possessed sufficient

data to support an additional shelf life of the EpiPen. Further, the members of the Class had no

means of obtaining any facts or information concerning the Defendants’ unlawful activities,

including the combination and conspiracy alleged herein, all of which were purposefully concealed

by Defendants.

       115.    For these reasons, the statute of limitations as to Plaintiff’s and the Class’ claims

did not begin to run, and has been tolled with respect to the claims that Plaintiff and the members

of the Class have alleged in this Complaint.

       116.    Fraudulent Concealment and/or Equitable Tolling: In the alternative,

application of the doctrine of fraudulent concealment and/or equitable tolling tolled the statute of

limitations on the claims asserted herein by Plaintiff and the Class. Plaintiff and the members of

the Class did not discover, and could not have reasonably discovered, the existence of the

conspiracy alleged herein until on or about (at the earliest) August 21, 2018, when Defendants

announced they possessed data supporting an extension of the EpiPen shelf life.

       117.    Before that time, Plaintiff and the members of the Class were unaware of

Defendants’ unlawful conduct, and did not know before then that they were falsely listing the

expiration date. Defendants provided no information, actual or constructive, to Plaintiff and

members of the Class that the expiration dates were false.

       118.    The affirmative acts of Defendants alleged herein were wrongfully concealed and

carried out in a manner that precluded detection.

       119.    By their very nature, Defendants’ conspiracy and fraudulent scheme were




                                                32
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inherently self-concealing. Plaintiff and members of the Class reasonably relied on the 18-month

expiration date provided on their EpiPen devices and widely disseminated to the public.

Accordingly, a reasonable person under the circumstances would not have been alerted to begin to

investigate the legitimacy of the EpiPen expiration dates before the temporary extension of the

expiration date, first announced on August 21, 2018.

       120.    Plaintiff and the members of the Class could not have discovered the alleged

unlawful activity at an earlier date because of the deceptive practices and techniques of secrecy

employed by the Defendants and their co-conspirators to avoid detection of, and fraudulently

conceal, their unlawful conduct.

       121.    Because the alleged unlawful conduct was self-concealing and affirmatively

concealed by Defendants, Plaintiff and members of the Class had no knowledge of the alleged

unlawful conduct, or of any facts or information that would have caused a reasonably diligent

person to investigate before August 21, 2018.

       122.    For these reasons, the statute of limitations applicable to Plaintiff’s and the Class’

claims was tolled and did not begin to run until at least August 21, 2018.

       123.    Continuing Tort: Defendants are estopped from relying on any statute of

limitations defense because their illegal, deceptive, and fraudulent practices as alleged herein,

which are continuing, have created continuing and repeated injuries to Plaintiff and the Class.

                              CLASS ACTION ALLEGATIONS

       124.    Plaintiff incorporates by reference all allegations above as if fully set forth herein.

       125.    Pursuant to Federal Rule 23(b)(3) and (2), Plaintiff brings this suit on behalf of

himself and all others similarly situated across the United States (the “Class”) consisting of:

       All persons or entities in the United States and its territories who paid any part of
       the purchase price of an EpiPen refill or replacement within 3 ½ years for


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         consumption by themselves, their families, or their members, employees, insureds,
         participants or beneficiaries, and not for the purpose of resale, from December 21,
         2001, when Defendants first reduced the shelf life of the EpiPen, through and until
         Class Notice is given (the “Class Period”). For purposes of this Class definition,
         persons or entities “purchased” an EpiPen if they directly paid for or reimbursed all
         or some of the purchase price of an EpiPen.
Excluded from the Class are:

         a.     The Defendants and their officers, directors, management, employees, subsidiaries
                or affiliates;

         b.     All governmental entities, except for government funded employee benefit plans;

         c.     The judges in this case and any members of their immediate families;
         d.     All persons who are presently in bankruptcy proceedings or who obtained a
                bankruptcy discharge in the last three years; and

         e.     All persons who are currently incarcerated.

         126.   The Class consists of well over 5 million EpiPen purchasers residing throughout

the United States. Accordingly, it would be impracticable to join all Class members before this

Court.

         127.   Pursuant to Rule 23(b)(3), there are numerous and substantial questions of law or

fact common to all of the members of the Class that predominate over any individual issues that

pertain to individual Class members, including:

         a.     Whether Defendants reduced the shelf life of the EpiPen without medical
                justification;

         b.     Whether Defendants misrepresented data or otherwise deceived the FDA to reduce
                the FDA-approved shelf life of the EpiPen;

         c.     Whether Defendants possess stability data indicating a different medically
                necessary shelf life of the EpiPen than the data presented to the FDA, doctors,
                payers, and patients;

         d.     What is the medically necessary shelf life of the EpiPen;

         e.     Whether Defendants deceived payers, doctors, and patients about the medically
                necessary shelf life of the EpiPen;



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       f.      Whether Defendants formed an enterprise (the “EpiPen Sham Expiration
               Enterprise”) within the meaning of RICO;

       g.      Whether the EpiPen Sham Expiration Enterprise engaged in a pattern of
               racketeering to defraud purchasers and users of the EpiPen; and

       h.      The quantum of aggregate class-wide damages to the Class as a result of Defendant’s
               misconduct.

       i.      Whether Defendants were unjustly enriched by the excess purchases of EpiPens
               based on the premature expiration date they listed on the EpiPen in the United States
               market.

       128.    Plaintiff’s claims are typical of those of the Class because their claims arise from

the same facts and turn on the above questions of law and/or fact along with all Class members,

there is a sufficient relationship between the damage to Plaintiff and Defendants’ conduct similarly

affecting all Class members, and Plaintiff has no interests adverse to the interests other Class

members.

       129.    Plaintiff will fairly and adequately protect the interests of Class members and has

retained counsel experienced and competent in the prosecution of complex class actions including

complex questions that frequently arise in similar consumer protection litigation.

       130.    A class action is superior to other methods for the fair and efficient adjudication of

this controversy, since individual joinder of all Class members is impracticable and no other

method of adjudication of the claims asserted herein is more efficient and manageable for at least

the following reasons:

       a.      The liability claims presented in this case predominate over any questions of law
               or fact, if any exist at all, affecting any individual Class members;

       b.      Absent certification, Class members will continue to suffer damage and
               Defendants’ unlawful conduct will continue without remedy while Defendants
               obtain further illegal profits;

       c.      Given the size of individual Class members’ claims, few, if any, Class members
               could afford to or would seek legal redress individually for the wrongs Defendants
               committed against them, and absent Class members have no substantial interest in


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                individually controlling the prosecution of individual actions;

        d.      When the liability of Defendants has been adjudicated, claims of all Class members
                can be administered efficiently and/or determined uniformly by the Court; and

        e.      This action presents no difficulty that would impede its management by the Court
                as a class action, which is the best available means by which Plaintiff and Class
                members can seek compensation for the harm caused to them by Defendant.

        131.    Because Plaintiff seeks relief for all Class members, the prosecution of separate

actions by individual members of the Class would create a risk of inconsistent or varying

adjudications with respect to individual Class members, which would establish incompatible

standards of conduct for Defendants.

        132.    Further, bringing individual claims would overburden the courts and be an

inefficient method of resolving the dispute at the center of this litigation. Adjudications with

respect to individual Class members would, as a practical matter, be dispositive of the interest of

other Class members who are not parties to the adjudication and may impair or impede their ability

to protect their interests. As a consequence, class treatment is a superior method for adjudication

of the issues in this case.

                                      CLAIM FOR RELIEF

                                     COUNT I
 Violation of The Racketeer Influenced and Corrupt Organizations Act (Civil RICO)
                               under 18 U.S.C. § 1962

        133.    Plaintiff incorporates by reference all allegations above as if fully set forth herein.

        134.    Plaintiff brings Count I on behalf of the Class against all Defendants.

        135.    At all relevant times, Defendants have been “persons” under 18 U.S.C. § 1961(3).

        136.    Section 1962(c) makes it “unlawful for any person employed by or associated with

any enterprise engaged in, or the activities of which affect, interstate or foreign commerce, to

conduct or participate, directly or indirectly, in the conduct of such enterprise’s affairs through a



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pattern of racketeering activity.” 18 U.S.C. § 1962(c).

       137.    Section 1962(d) makes it unlawful for “any person to conspire to violate” Section

1962(c), among other provisions. See 18 U.S.C. § 1962(d).

       138.    Since 2001, Defendants have sought to extract excess profits from the sales of the

EpiPen in the United States. Finding it impossible to achieve their sales goals through lawful

means, Defendants engaged in illegal acts to further their EpiPen Sham Expiration Scheme

(defined below).

       139.    From at least 2001 to the present, by virtue of their wholly owned subsidiaries, the

affiliation between Mylan and Pfizer has constituted an association-in-fact enterprise: Mylan and

Pfizer both participated directly or indirectly in a scheme to falsely state the medically necessary

shelf life of the EpiPen and otherwise manipulate EpiPen expiration dates (the “EpiPen Sham

Expiration Enterprise”), whose purpose was to fraudulently mislead and deceive payers and

patients to purchase EpiPens more often than necessary and thereby obtain illegal profits.

       140.    As a direct and proximate result of their fraudulent scheme and common course of

conduct, Defendants illegally extracted billions of dollars from Plaintiffs and the Class. As

explained in detail below, Defendants’ years-long misconduct violated RICO Sections §§ 1962(c)

and (d).

A.     The EpiPen Sham Expiration Enterprise

       141.    At all relevant times, Defendants operated as an association-in-fact enterprise,

which was formed for the purpose of engaging in a scheme to defraud regarding the medically

necessary expiration date of the EpiPen. Each of Defendants conducted or participated, directly or

indirectly, in the affairs of the EpiPen Sham Expiration Enterprise.

       142.    The EpiPen Sham Expiration Enterprise consists of the following entities and

individuals:


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       1.      The Mylan Defendants

       143.    Each of the Mylan Defendants is a “person” under 18 U.S.C. § 1961(3).

       144.    Mylan N.V. and Mylan Specialty L.P. are each distinct legal entities.

       145.    The Mylan Defendants acquired Dey and are legally responsible for its liability.

       146.    The Mylan Defendants operated and managed the EpiPen Sham Expiration

Enterprise to inflate EpiPen sales and revenue to enrich Mylan’s top executives, including Ms.

Bresch, who paid themselves bonuses, among other self-serving compensation schemes.

       147.    As a generics company, Mylan typically makes low margins on drug sales. The

EpiPen, a specialty branded drug, was atypical for Mylan to sell and represented a unique, highly-

profitable revenue stream for Mylan. Recognizing this opportunity, Ms. Bresch and other

executives decided to exploit the EpiPen to generate billions of dollars in revenue for Mylan and

millions of dollars for themselves.

       148.    Mylan N.V., through Ms. Bresch, was directly involved in nearly all of the sales,

pricing, and marketing decisions regarding the EpiPen.

       149.    Ms. Bresch has made herself the face and spokesperson of the EpiPen, including

through her false testimony to the U.S. Congress in September 2016, during which she expressly

misled Congress about the expiration date. The media has widely documented that her career

trajectory (and excessive compensation) has followed the rise of the EpiPen, which she publicly

has called her “baby.”

       150.    Mylan Specialty, L.P., is the primary entity that markets, distributes, and sells the

EpiPen in the United States and is currently the holder of NDA #019430 for the EpiPen.

       2.      The Pfizer Defendants

       151.    Each of the Pfizer Defendants are a corporate “person” under 18 U.S.C. § 1961(3).

       152.    Each operated or managed the affairs of an enterprise, the EpiPen Sham Expiration


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Enterprise, through a pattern of racketeering activity in violation of 18 U.S.C. § 1962(c).

         153.   The Pfizer and Mylan defendants are, and have been, in regular and constant

communication regarding the EpiPen.

         154.   The shared intellectual property of the EpiPen between Mylan and Pfizer, as well

as their other work together in forming an enterprise to engage in racketeering related to the EpiPen

Pricing Scheme, has been demonstrated in the underlying EpiPen MDL, In re EpiPen Marketing,

Sales Practices and Antitrust Litigation, 17-md-2785 (D. Kan.), before Judge Crabtree. That case’s

RICO and antitrust claims against Mylan and Pfizer were recently granted class certification by

Judge Crabtree in February 2020.

         155.   The Pfizer Defendants do more than simply manufacture the EpiPen according to

Mylan’s specifications, as illustrated by the fact that Pfizer issued a joint press release regarding

the August 2018 EpiPen shortage, 54 currently maintains a website updating patients on the EpiPen

shortage, 55 was the sponsor of the EpiPen NDA #019430 as of November 2001 via its Meridian

subsidiary, 56 and presumably stamps the critical expiration date on each EpiPen device as the

manufacturer of the EpiPen.

         156.   Mylan and Pfizer are in the regular business of making and selling pharmaceutical

drugs and devices. It is not routine for them to engage in fraudulent activities.




54
     https://www.fda.gov/downloads/Drugs/DrugSafety/DrugShortages/UCM622167.pdf
55

https://www.pfizer.com/news/featured_stories/featured_stories_detail/important_update_on_epip
en_epinephrine_injection_usp_0_3_mg_auto_injectors

56
     https://www.accessdata.fda.gov/drugsatfda_docs/nda/2017/019430Orig1s015.pdf


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B.     The EpiPen Sham Expiration Enterprise Sought to Increase Defendants Profits by
       Deceiving Consumers into Purchasing EpiPens More Frequently By Misstating the
       Expiration Date.

       157.    The attempt to manipulate the EpiPen expiration date began as early as November

21, 2001, when Meridian reduced the EpiPen shelf life from 27 months to 20 months without

medical justification.

       158.    Mylan did not become involved until 2007, when it acquired the rights to the

EpiPen from Merck via an acquisition that closed in 2007. But its predecessor, Dey, was involved,

and Mylan’s acquisition of Dey brought with it the legal obligation to cover Dey’s liabilities.

       159.    At all relevant times, the EpiPen Sham Expiration Enterprise: (a) had an existence

separate and distinct from each Defendant; (b) was separate and distinct from the pattern of

racketeering in which Defendants engaged; and (c) was an ongoing and continuing organization

consisting of legal entities, including the Mylan Defendants, the Pfizer Defendants, other entities

and individuals associated for the common purpose of increasing EpiPen sales. The EpiPen Sham

Expiration Enterprise was also complimentary to the EpiPen Pricing Scheme, as alleged and set

forth by Judge Crabtree in In re: EpiPen Mktg., Sales Practices & Antitrust Litig., 336 F. Supp. 3d

1256 (D. Kan. 2018).

       160.    Each member of the EpiPen Sham Expiration Enterprise shared in the financial

windfall generated by the enterprise, and each Defendant shared in the common purpose of forcing

patients and payers to repurchase EpiPens sooner than was medically necessary based on false,

deceptive, and or misleading expiration dates.

       161.    The EpiPen Sham Expiration Enterprise engaged in, and its activities affected

interstate and foreign commerce, because it involved commercial activities across state boundaries,

such as the marketing, promotion, advertisement and sale or lease of the EpiPen throughout the

country, and the receipt of monies from the sale of the same.


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       162.    Within the EpiPen Sham Expiration Enterprise, there was a common

communication network by which co-conspirators shared information using the interstate mails

and wires on a regular basis.

       163.    Each participant in the EpiPen Sham Expiration Enterprise had a systematic linkage

to the others through corporate ties, contractual relationships, financial ties, and continuing

coordination of activities.

       164.    Through the EpiPen Sham Expiration Enterprise, Defendants functioned as a

continuing unit with the purpose of furthering the illegal scheme and their common purposes of

increasing their revenues.

       165.    Defendants’ ordinary business is to engage in the manufacture and sale of

pharmaceutical drugs and devices. It is not part of their routine business to engage in acts of mail

and wire fraud by deceiving consumers of their products about the actual expiration dates of their

products.

       166.    While Defendants participated in, and are members of, the enterprise, they have a

separate existence from the enterprise, including distinct legal statuses, different offices and roles,

bank accounts, officers, directors, employees, individual personhood, reporting requirements, and

financial statements.

       167.    Defendants directed and controlled the ongoing organization necessary to

implement the scheme at meetings and through communications of which Plaintiff cannot fully

know at present, because such information lies in the Defendants’ exclusive control.

C.     The Pattern of Racketeering: Mail Fraud, Wire Fraud, and Corruption of an
       Official Proceeding

       168.    To carry out the scheme to defraud, Defendants knowingly participated, directly or

indirectly, and conducted the affairs of the EpiPen Sham Expiration Enterprise through a pattern



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of racketeering activity within the meaning of 18 U.S.C. §§ 1961(1), 1961(5) and 1962(c), and

which employed the use of the mail and wire facilities, in violation of 18 U.S.C. § 1341 (mail

fraud) and § 1343 (wire fraud). Defendants also engaged in corruption of an official proceeding, a

Congressional hearing in which Ms. Bresch was under oath and speaking on behalf of Mylan, in

violation of 18 U.S.C. § 1512(c)(2).

       169.       Defendants’ predicate acts of racketeering (18 U.S.C. § 1961(1)) include, but are

not limited to:

                  a.    Mail Fraud: Defendants violated 18 U.S.C. § 1341 by engaging in an
                  unlawful scheme to defraud involving false pretenses, misrepresentations,
                  promises, and omissions. In furtherance of this scheme, Defendants used the mails.

                                The RICO Defendants shipped, or caused to ship, via interstate mail
                                 EpiPen devices to pharmacies, patients, schools, and others bearing
                                 expiration dates that were artificially restricted to increase
                                 Defendants’ profits.

                                Every EpiPen that bears a false expiration date was shipped in
                                 interstate commerce using the mails, as that term is defined within
                                 the RICO statute.

                                Defendants used the mails in furtherance of their scheme to defraud
                                 and, in fact, could not have accomplished their scheme to defraud
                                 without using the mails to ship the EpiPen nationwide to victims in
                                 all fifty states.

                  b.      Wire Fraud: Defendants violated 18 U.S.C. § 1343 by engaging in an
                  unlawful scheme to defraud involving false pretenses, misrepresentations,
                  promises, and omissions. In furtherance of this scheme, Defendants used the
                  interstate wires.

                                Defendants communicated with pharmaceutical payers and
                                 pharmacy benefit managers via wire regarding formulary coverage
                                 of the EpiPen without disclosing manipulation of EpiPen expiration
                                 dates to increase Defendants’ profits.

                                The RICO Defendants communicated with patients directly through
                                 the My EpiPen Program (including the internet and email) to instruct
                                 patients via email to replace and repurchase EpiPens more
                                 frequently than was medically necessary.




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                              Defendants used the interstate wires to receive and process
                               payments from their illicit sales of the EpiPen based on the false
                               expiration date.

               c.     Corruption of an Official Proceeding: Defendants violation 18 U.S.C. §
               1512(c)(2) by corruptly influencing proceedings before both Congress and the
               FDA.

                       Defendants corruptly influenced Congressional proceedings when Mylan’s
                       CEO, Ms. Bresch, testified to Congress on September 21, 2016, that the
                       then-current expiration date of the EpiPen was 18 months from the date of
                       manufacture without disclosing that this expiration date was artificially
                       reduced. Additionally, Defendants corruptly influenced Congressional
                       proceedings when Ms. Bresch testified that Mylan was about to submit
                       documents “within days” (as explained above) to the FDA that would allow
                       a 24-month expiration date on the EpiPen product. At the time that
                       statement was made, Ms. Bresch and Mylan knew they had no present
                       intention to make any submission to FDA.

       170.    In doing so, Defendants have deceived and cheated patients and third-party payors

out of billions of dollars. The full extent of the damages will be the subject of discovery.

D.     Causation and Damages

       171.    The EpiPen Sham Expiration Enterprise directly caused consumers to overpay by

forcing them to purchase EpiPens more frequently than was medically necessary and more

frequently than they would have but for the fraud scheme. There is a direct and straight line from

the scheme to defraud to the damages suffered.

       172.    There are no intervening steps or causes that could have prevented or altered or

even interfered with the EpiPen Sham Expiration Enterprise.

       173.    Consumers purchased the EpiPen in reasonable reliance upon the expiration date,

and Mylan’s own internal documents confirm that it was zealously focused on the buying patterns

of end-consumers. Defendants knew that if they artificially manipulated the expiration date to

attain a one-year purchasing cycle, then a significant portion of consumers would purchase the

EpiPen exactly as Defendants intended. For example, at least 35% of consumers repurchase the



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EpiPen every year, and almost every EpiPen consumer who ever repurchases an EpiPen

(approximately 60%) does so within 3 years—or within the 42-month expiration date shown by

recent studies.

          174.    The exact purchase history of consumers, at the level of the individual consumer,

is available from PBMs, third-party payors (who track this information and have been proven to

possess this information), and other relevant data sources, so there is no real risk that the class will

include any class members who were not harmed by the EpiPen Sham Expiration Enterprise. The

class will include those who purchased the EpiPen within the shortened expiration date, and,

likewise, it will exclude those consumers who did not purchase the EpiPen within the shortened

expiration date.

          175.    Defendants target individual consumers to purchase the EpiPen by encouraging

them to sign up for emails and other programs, for example in this pop-up that appears: 57




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     See, e.g., https://www.epipen.com/paying-for-epipen-and-generic (accessed March 2, 2020).


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       176.    By reason of, and as a result of Defendants’ conduct, Plaintiff and Class members

have been injured in their property by overpaying more often for EpiPens than they otherwise

would have. It is a commonsense inference (and one that a jury is allowed to make) that patients

purchase new EpiPens once their current EpiPen expires. Thus, by falsely listing the expiration

date, Defendants artificially and illegally caused patients and payors to purchase EpiPens more

quickly and sooner than they would have had the accurate and true expiration date been listed.

       177.    Defendants’ violations of 18 U.S.C. § 1962(c) and (d) have directly and

proximately caused injuries and damages to Plaintiff and Class members, and Plaintiff and Class

members are entitled to bring this action for three times their actual damages, as well as costs and

reasonable attorneys’ fees pursuant to 18 U.S.C. § 1964(a), (c).




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                         DEMAND FOR JURY TRIAL

178.   Plaintiff respectfully demands a jury trial on all issues so triable.

                             PRAYER FOR RELIEF

WHEREFORE, the Plaintiff respectfully requests the following relief:

 a.    Determine that this action may be maintained as a class action pursuant to Fed. R.
       Civ. P. 23(a) and (b)(3) and direct that reasonable notice of this action, as provided
       by Fed. R. Civ. P. 23(c)(2) be given to the Class;

 b.    Appoint Plaintiff as Class Representative and Plaintiff’s counsel as Class Counsel;

 c.    Award compensatory damages to Plaintiff and the proposed Class in an amount
       to be established at trial;

 d.    Award treble damages under the RICO statute;

 e.    Award pre- and post-judgment interest;

 f.    Award reasonable attorneys’ fees and costs; and,

 g.    For all such other and further relief as may be just and proper.




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                                 Respectfully submitted,

                                 /s/ Rex A. Sharp

                                  Rex A. Sharp K #12350
                                  Ryan C. Hudson KS #22986
                                  SHARP BARTON, LLP
                                  5301 W. 75th Street
                                  Prairie Village, KS 66208
                                  Tel: (913) 901-0505
                                  Fax: (913) 901-0419
                                  Email: rex@sharpbarton.com
                                  Email: ryan@sharpbarton.com

                                  Warren T. Burns
                                  Spencer Cox
                                  BURNS CHAREST LLP
                                  900 Jackson, Suite 500
                                  Dallas, TX 75202
                                  Tel: (469) 904-4550
                                  Fax: (469) 444-5002

                                  Paul J. Geller
                                  Stuart Davidson
                                  ROBBINS GELLER RUDMAN & DOWD LLP
                                  120 East Palmetto Park Road, Suite 500
                                  Boca Raton, FL 33432
                                  Tel: (561) 750-3000
                                  Fax: (561) 750-3364

                                  Lynn Lincoln Sarko
                                  Gretchen Freeman Cappio
                                  KELLER ROHRBACK L.L.P.
                                  1201 3rd Ave. - Ste. 3200
                                  Seattle, WA 98101
                                  Tel: (206) 623-1900
                                  Fax: (206) 623-3384


                                  Counsel for Plaintiff and Proposed Class




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